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                                                        EXHIBIT A
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ARTIST NAME            SOUND RECORDING TITLE           REGISTRATION NUMBER   AUDIBLE MAGIC DELIVERY DATE   URL OF INFRINGING VERSION ON SPINRILLA (TRACK)                    URL OF INFRINGING VERSION ON SPINRILLA (MIXTAPE)                SPINRILLA
                                                                                                                                                                             https://spinrilla.com/mixtapes/klassik-ceo-tax-season-
112                    Cupid                           SR0000233376          N/A                           https://spinrilla.com/songs/344494-112-cupid                      pleasin-2                                                       7/3/2015

112                    Cupid                           SR0000233376          N/A                           https://spinrilla.com/songs/67565-112-cupid                       https://spinrilla.com/mixtapes/dj-boss-chic-lover-s-lane-3      1/1/2014

112                    Cupid                           SR0000233376          N/A                           https://spinrilla.com/songs/249792-112-cupid                      https://spinrilla.com/mixtapes/dj-bombshell-be-mine             2/13/2015

112                    Cupid                           SR0000233376          N/A                           https://spinrilla.com/songs/498658-112-cupid                      https://spinrilla.com/mixtapes/dj-jay-rock-blazin-r-b-46        2/2/2016
                                                                                                           https://spinrilla.com/songs/402350-dj-nick-only-you-biggie-
112                    Only You                        SR0000233376          N/A                           112-ma-e                                                        https://spinrilla.com/mixtapes/dj-nick-just-cruisin-90s-tape      9/30/2015
                                                                                                                                                                           https://spinrilla.com/mixtapes/dj-boss-chic-great-groups-
*NSYNC                 Gone                            SR0000302433          12/7/2015                     https://spinrilla.com/songs/73915-n-sync-gone                   from-those-days                                                   1/18/2014
                                                                                                           https://spinrilla.com/songs/187496-3lw-no-more-baby-i-ma-
3LW                    No More (Baby I'ma Do Right)    SR0000298351          12/10/2015                    do-right                                                        https://spinrilla.com/mixtapes/dj-boss-chic-lovers-lane-10        10/20/2014
                                                                                                           https://spinrilla.com/songs/228726-a-tribe-called-quest-award- https://spinrilla.com/mixtapes/various-artists-90-s-golden-
A Tribe Called Quest   Award Tour                      SR0000185359          12/9/2015                     tour                                                            age-hip-hop                                                       1/9/2015
                                                                                                           https://spinrilla.com/songs/656546-a-tribe-called-quest-can-i- https://spinrilla.com/mixtapes/dj-dna-new-york-state-of-
A Tribe Called Quest   Can I Kick It?                  SR0000171981          12/15/2015                    kick-it                                                         mind                                                              6/8/2016
                                                                                                           https://spinrilla.com/songs/434580-a-tribe-called-quest-can-i- https://spinrilla.com/mixtapes/dj-dirty-dollarz-hot-this-
A Tribe Called Quest   Can I Kick It?                  SR0000171981          12/9/2015                     kick-it-j-cole-remix                                            week-32                                                           11/14/2015
                                                                                                           https://spinrilla.com/songs/436338-a-tribe-called-quest-can-i- https://spinrilla.com/mixtapes/dj-street-cred-2dayz-
A Tribe Called Quest   Can I Kick It?                  SR0000171981          12/7/2015                     kick-it-j-cole-remix                                            exclusives-vol-29                                                 11/16/2015
                                                                                                           https://spinrilla.com/songs/599147-a-tribe-called-quest-find-a-
A Tribe Called Quest   Find a Way                      SR0000300835          12/18/2015                    way                                                             https://spinrilla.com/mixtapes/guyatl-the-soulmusix-house         4/24/2016
                                                                                                           https://spinrilla.com/songs/62239-a-tribe-called-quest-feat-    https://spinrilla.com/mixtapes/busta-rhymes-q-tip-the-
A Tribe Called Quest   Scenario                        SR0000134715          12/9/2015                     leaders-of-the-new-school-scenario                              abstract-and-the-dragon                                           12/12/2013

                                                                                                           https://spinrilla.com/songs/223261-various-artists-11-a-tribe-    https://spinrilla.com/mixtapes/various-artists-dj-koolhand-
A Tribe Called Quest   Scenario                        SR0000134715          12/9/2015                     called-quest-feat-leaders-of-the-new-school-scenario-remix        dj-gates-90-s-throw-down                                        1/1/2015
                                                                                                           https://spinrilla.com/songs/228733-a-tribe-called-quest-          https://spinrilla.com/mixtapes/various-artists-90-s-golden-
A Tribe Called Quest   Scenario                        SR0000134715          12/8/2015                     scenario-busta-verse                                              age-hip-hop                                                     1/9/2015
                                                                                                           https://spinrilla.com/songs/601474-asap-ferg-ft-migos-back-       https://spinrilla.com/mixtapes/dj-cinemax-meet-the-
A$AP Ferg              Back Hurt                       SR0000782266          6/20/2016                     hurt                                                              connect-vol-4                                                   4/26/2016
                                                                                                           https://spinrilla.com/songs/601192-asap-ferg-feat-migos-back-     https://spinrilla.com/mixtapes/dj-kurupt-streetcorner-
A$AP Ferg              Back Hurt                       SR0000782266          6/20/2016                     hurt                                                              gangstas-summer-16                                              4/26/2016
                                                                                                           https://spinrilla.com/songs/602227-asap-ferg-ft-migos-back-
A$AP Ferg              Back Hurt                       SR0000782266          6/20/2016                     hurt                                                              https://spinrilla.com/mixtapes/dj-tee-cee-turnt-up-vol-25       4/27/2016
                                                                                                           https://spinrilla.com/songs/694916-asap-ferg-ft-migos-back-       https://spinrilla.com/mixtapes/dj-murph-boomin-out-the-
A$AP Ferg              Back Hurt                       SR0000782266          6/20/2016                     hurt                                                              studio-2-hosted-by-mlk                                          7/6/2016
                                                                                                           https://spinrilla.com/songs/695911-dj-double-j-back-hurt-         https://spinrilla.com/mixtapes/dj-double-j-double-or-
A$AP Ferg              Back Hurt                       SR0000782266          6/20/2016                     asap-ferg-ft-migos                                                nothin-vol-3                                                    7/8/2016
                                                                                                           https://spinrilla.com/songs/714932-asap-ferg-ft-migos-back-       https://spinrilla.com/mixtapes/dj-official-hood-official-vol-
A$AP Ferg              Back Hurt                       SR0000782266          6/20/2016                     hurt                                                              3                                                               7/22/2016
                                                                                                           https://spinrilla.com/songs/631639-dj-lv-back-hurt-asap-ferg-
A$AP Ferg              Back Hurt                       SR0000782266          6/20/2016                     feat-migos                                                        https://spinrilla.com/mixtapes/dj-lv-i-love-808-s-mixtape       5/20/2016
                                                                                                           https://spinrilla.com/songs/618001-asap-ferg-back-hurt-ft-
A$AP Ferg              Back Hurt                       SR0000782266          6/20/2016                     migos                                                             https://spinrilla.com/mixtapes/daplxg-who-is-hot-vol-2          5/7/2016
                                                                                                           https://spinrilla.com/songs/764192-asap-ferg-back-hurt-feat-
A$AP Ferg              Back Hurt                       SR0000782266          6/20/2016                     migos                                                             https://spinrilla.com/mixtapes/chill-usa-unprecedented          8/26/2016
                                                                                                           https://spinrilla.com/songs/610947-asap-ferg-let-it-bang-         https://spinrilla.com/mixtapes/dj-instynctz-street-
A$AP Ferg              Let It Bang                     SR0000782296          3/17/2016                     featuring-schoolboy-q                                             khemistry-16                                                    5/4/2016
                                                                                                           https://spinrilla.com/songs/108155-various-artist-let-it-go-      https://spinrilla.com/mixtapes/various-artists-trap-musik-
A$AP Ferg              Let It Go                       SR0000732583          12/20/2015                    asap-ferg                                                         hood-edition-2                                                  4/14/2014
                                                                                                                                                                             https://spinrilla.com/mixtapes/dmv-music-plug-dmv-vs-
A$AP Ferg              Let It Go                       SR0000732583          12/8/2015                     https://spinrilla.com/songs/380480-asap-ferg-let-it-go            kings-of-the-north                                              8/26/2015
                                                                                                           https://spinrilla.com/songs/505503-19-asap-ferg-ft-future-
A$AP Ferg              New Level                       SR0000782297          12/15/2015                    new-level                                                         https://spinrilla.com/mixtapes/young-buck-street-recipe-5 2/11/2016
                                                                                                           https://spinrilla.com/songs/575716-various-artist-asap-ferg-ft-   https://spinrilla.com/mixtapes/dj-boss-chic-spring-bling-
A$AP Ferg              New Level                       SR0000782297          12/15/2015                    future-new-level                                                  vol-1                                                     4/7/2016
                                                                                                           https://spinrilla.com/songs/492116-asap-ferg-ft-future-new-       https://spinrilla.com/mixtapes/dj-evryting-criss-trap-
A$AP Ferg              New Level                       SR0000782297          12/15/2015                    level                                                             university                                                2/5/2016
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                                                                                                        https://spinrilla.com/songs/503234-dj-don-gee-1-asap-ferg-ft-   https://spinrilla.com/mixtapes/dj-don-gee-let-the-streets-
A$AP Ferg     New Level                             SR0000782297          12/15/2015                    future-new-level                                                eat-16                                                         2/7/2016
                                                                                                        https://spinrilla.com/songs/470334-dj-tony-pot-10-asap-ferg-    https://spinrilla.com/mixtapes/dj-tony-pot-certified-track-
A$AP Ferg     New Level                             SR0000782297          12/15/2015                    ft-future-new-level                                             runnerz-6                                                      12/31/2015
                                                                                                        https://spinrilla.com/songs/510185-asap-ferg-ft-future-new-     https://spinrilla.com/mixtapes/designerkidd-everything-
A$AP Ferg     New Level                             SR0000782297          12/15/2015                    level                                                           authentic-2-welcome2eastatlanta                                2/13/2016
                                                                                                        https://spinrilla.com/songs/609455-asap-ferg-feat-future-new-   https://spinrilla.com/mixtapes/dj-sir-swift-do-it-for-my-
A$AP Ferg     New Level                             SR0000782297          12/15/2015                    level                                                           ratchets-5                                                     5/3/2016
                                                                                                        https://spinrilla.com/songs/497095-dj-new-era-7-asap-ferg-      https://spinrilla.com/mixtapes/dj-new-era-free-ba-3-vol-2-
A$AP Ferg     New Level                             SR0000782297          12/15/2015                    feat-future-new-level-20160201-25336-1itmodc                    light-it-up-hosted-by-ampsterdamn                              2/3/2016
                                                                                                        https://spinrilla.com/songs/544692-asap-ferg-new-level-feat-    https://spinrilla.com/mixtapes/dj-stop-n-go-fix-ya-face-vol-
A$AP Ferg     New Level                             SR0000782297          12/15/2015                    future                                                          5                                                              3/13/2016

A$AP Ferg     New Level                             SR0000782297          12/15/2015                    https://spinrilla.com/songs/501240-asap-ferg-new-level          https://spinrilla.com/mixtapes/dj-westside-for-da-bliznock 2/5/2016
                                                                                                        https://spinrilla.com/songs/463378-asap-ferg-ft-future-new-
A$AP Ferg     New Level                             SR0000782297          12/15/2015                    level                                                           https://spinrilla.com/mixtapes/dj-scratchez-mixtape-godz       12/23/2015
                                                                                                        https://spinrilla.com/songs/460319-asap-ferg-ft-future-new-
A$AP Ferg     New Level                             SR0000782297          12/15/2015                    level                                                           https://spinrilla.com/mixtapes/dj-mf-cash-1-stop-shop         12/19/2015
                                                                                                        https://spinrilla.com/songs/587373-doenation-mixtapes-1-        https://spinrilla.com/mixtapes/doenation-mixtapes-what-s-
A$AP Ferg     New Level                             SR0000782297          12/15/2015                    new-level-asap-ferg-feat-future                                 a-plug-ta-da-outlet                                           4/17/2016
                                                                                                        https://spinrilla.com/songs/29411-dj-sir-swift-shabba-asap-     https://spinrilla.com/mixtapes/dj-sir-swift-we-out-here-vol-
A$AP Ferg     Shabba                                SR0000726477          12/19/2015                    ferg-ft-asap-rocky                                              1                                                             8/15/2013
                                                                                                                                                                        https://spinrilla.com/mixtapes/dj-richie-rich-please-don-t-
A$AP Ferg     Shabba                                SR0000726477          12/19/2015                    https://spinrilla.com/songs/85491-asap-ferg-shabba-ranks        kill-my-vibe                                                  2/16/2014
                                                                                                        https://spinrilla.com/songs/19457-dj-reddy-rell-asap-ferg-ft-   https://spinrilla.com/mixtapes/dj-reddy-rell-hip-hop-txl-vol-
A$AP Ferg     Shabba                                SR0000726477          12/19/2015                    asap-rocky-shabba                                               16                                                            7/6/2013

                                                                                                        https://spinrilla.com/songs/60871-dj-bkstorm-04-asap-ferg-
A$AP Ferg     Shabba                                SR0000726477          12/20/2015                    feat-shabba-ranks-busta-rhymes-migos-shabba-remix               https://spinrilla.com/mixtapes/dj-bkstorm-no-games            12/8/2013
                                                                                                        https://spinrilla.com/songs/58569-asap-ferg-ft-shabba-ranks-    https://spinrilla.com/mixtapes/dj-reddy-rell-hip-hop-txl-vol-
A$AP Ferg     Shabba                                SR0000726477          12/8/2015                     busta-rhymes-migos-shabba-remix                                 28                                                            11/26/2013
                                                                                                        https://spinrilla.com/songs/587330-various-artists-07-asap-     https://spinrilla.com/mixtapes/various-artists-diamonds-
A$AP Ferg     Strive                                SR0000782295          4/5/2016                      ferg-feat-missy-elliott-strive                                  vol-1-hosted-by-the-model-trina-starz                         4/17/2016
                                                                                                        https://spinrilla.com/songs/643361-doenation-mixtapes-8-        https://spinrilla.com/mixtapes/doenation-mixtapes-key-to-
A$AP Ferg     Swipe Life                            SR0000782266          4/5/2016                      swipe-life-asap-ferg-feat-rick-ross                             the-streets                                                   5/30/2016
                                                                                                        https://spinrilla.com/songs/610928-asap-ferg-ft-rick-ross-      https://spinrilla.com/mixtapes/dj-instynctz-street-
A$AP Ferg     Swipe Life                            SR0000782266          4/5/2016                      swipe-life                                                      khemistry-16                                                  5/4/2016
                                                                                                                                                                        https://spinrilla.com/mixtapes/dj-jay-era-only-bangerz-vol-
A$AP Ferg     Swipe Life                            SR0000782266          4/5/2016                      https://spinrilla.com/songs/606762-asap-ferg-swipe-life         2                                                             4/30/2016
                                                                                                        https://spinrilla.com/songs/488720-dj-pt-playa-asap-ferg-work-
A$AP Ferg     Work                                  SR0000727759          12/8/2015                     remix                                                          https://spinrilla.com/mixtapes/dj-pt-playa-national-dj-day 1/23/2016
                                                                                                        https://spinrilla.com/songs/588062-dj-rico-banks-asap-ferg-    https://spinrilla.com/mixtapes/dj-rico-banks-the-
A$AP Ferg     World Is Mine                         SR0000782295          3/29/2016                     world-is-mine-ft-big-sean                                      adventures-of-fly-guy-swish                                 4/17/2016
                                                                                                        https://spinrilla.com/songs/575921-dj-bkstorm-16-asap-ferg-ft-
A$AP Ferg     World Is Mine                         SR0000782295          3/29/2016                     big-sean-world-is-mine                                         https://spinrilla.com/mixtapes/dj-bkstorm-boss-shit-3       4/7/2016
                                                                                                        https://spinrilla.com/songs/576807-asap-ferg-feat-big-sean-    https://spinrilla.com/mixtapes/dj-smirk-key-to-the-streets-
A$AP Ferg     World Is Mine                         SR0000782295          3/29/2016                     world-is-mine                                                  2                                                           4/8/2016
                                                                                                        https://spinrilla.com/songs/588756-asap-ferg-feat-big-sean-    https://spinrilla.com/mixtapes/jerzeyboy-radio-street-
A$AP Ferg     World Is Mine                         SR0000782295          3/29/2016                     world-is-mine                                                  edition-12                                                  4/18/2016
                                                                                                                                                                       https://spinrilla.com/mixtapes/jai-slowed-down-7-years-an-
A$AP Rocky    Everyday                              SR0000768267          12/7/2015                                                                                    more                                                        9/7/2015
A$AP Rocky    JD                                    SR0000768264          12/25/2015                    https://spinrilla.com/songs/351909-a-ap-rocky-jd
A$AP Rocky    L$D                                   SR0000768264          12/10/2015                    https://spinrilla.com/songs/316556-a-ap-rocky-lsd              https://spinrilla.com/songs/316556-a-ap-rocky-lsd
                                                                                                                                                                       https://spinrilla.com/mixtapes/jai-slowed-down-7-years-an-
A$AP Rocky    L$D                                   SR0000768264          12/25/2015                                                                                   more                                                        9/7/2015
                                                                                                        https://spinrilla.com/songs/294176-asap-rocky-lord-pretty-     https://spinrilla.com/mixtapes/dj-instynctz-pass-me-the-
A$AP Rocky    Lord Pretty Flacko Jodye 2 (LPFJ2)    SR0000768788          12/24/2015                    flacko-jodye-2                                                 aux-cord-vol-1                                              4/18/2015
                                                                                                        https://spinrilla.com/songs/225016-asap-rocky-lord-pretty-
A$AP Rocky    Lord Pretty Flacko Jodye 2 (LPFJ2)    SR0000768788          12/24/2015                    flacko-jodye-2                                                 https://spinrilla.com/mixtapes/dj-jay-t-love-in-the-city-2  1/2/2015
                                                                                                        https://spinrilla.com/songs/450068-pimp-c-feat-asap-rocky-     https://spinrilla.com/mixtapes/dj-dirty-dollarz-hot-this-
A$AP Rocky    Wavybone                              SR0000768264          10/25/2016                    juicy-j-bun-b-wavybone                                         week-35                                                     12/5/2015
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ARTIST NAME        SOUND RECORDING TITLE             REGISTRATION NUMBER   AUDIBLE MAGIC DELIVERY DATE   URL OF INFRINGING VERSION ON SPINRILLA (TRACK)                  URL OF INFRINGING VERSION ON SPINRILLA (MIXTAPE)           SPINRILLA
                                                                                                         https://spinrilla.com/songs/332163-aaliyah-age-ain-t-nothing- https://spinrilla.com/mixtapes/young-rb-best-of-aaliyah-
Aaliyah            Age Ain't Nothing But A Number    SR0000288078          12/9/2015                     but-a-number                                                    tribute-evolution                                          6/15/2015
                                                                                                         https://spinrilla.com/songs/317493-aaliyah-aaliyah-at-your-     https://spinrilla.com/mixtapes/dj-willie-flight-best-of-
Aaliyah            At Your Best (You Are Love)       SR0000288078          12/9/2015                     best-you-are-loved                                              aaliyah                                                    5/22/2015
                                                                                                         https://spinrilla.com/songs/332166-aaliyah-at-your-best-you- https://spinrilla.com/mixtapes/young-rb-best-of-aaliyah-
Aaliyah            At Your Best (You Are Love)       SR0000288078          12/9/2015                     are-love                                                        tribute-evolution                                          6/15/2015
                                                                                                         https://spinrilla.com/songs/332176-aaliyah-back-and-forth-mr- https://spinrilla.com/mixtapes/young-rb-best-of-aaliyah-
Aaliyah            Back & Forth                      SR0000288078          12/9/2015                     lee-and-r                                                       tribute-evolution                                          6/15/2015
                                                                                                         https://spinrilla.com/songs/317477-aaliyah-aaliyah-back-and- https://spinrilla.com/mixtapes/dj-willie-flight-best-of-
Aaliyah            Back & Forth                      SR0000288078          12/9/2015                     forth                                                           aaliyah                                                    5/22/2015
                                                                                                                                                                         https://spinrilla.com/mixtapes/young-rb-best-of-aaliyah-
Aaliyah            Back & Forth                      SR0000288078          12/9/2015                     https://spinrilla.com/songs/332162-aaliyah-back-and-forth       tribute-evolution                                          6/15/2015
                                                                                                                                                                         https://spinrilla.com/mixtapes/young-rb-best-of-aaliyah-
Aaliyah            I'm Down                          SR0000288078          12/18/2015                    https://spinrilla.com/songs/332174-aaliyah-i-m-down             tribute-evolution                                          6/15/2015
                                                                                                         https://spinrilla.com/songs/317479-aaliyah-aaliyah-i-m-so-into- https://spinrilla.com/mixtapes/dj-willie-flight-best-of-
Aaliyah            I'm So Into You                   SR0000288078          12/18/2015                    you                                                             aaliyah                                                    5/22/2015
                                                                                                                                                                         https://spinrilla.com/mixtapes/young-rb-best-of-aaliyah-
Aaliyah            I'm So Into You                   SR0000288078          12/18/2015                    https://spinrilla.com/songs/332170-aaliyah-i-m-so-into-you      tribute-evolution                                          6/15/2015
                                                                                                                                                                         https://spinrilla.com/mixtapes/young-rb-best-of-aaliyah-
Aaliyah            Old School                        SR0000288078          12/18/2015                    https://spinrilla.com/songs/332173-aaliyah-old-school           tribute-evolution                                          6/15/2015
                                                                                                                                                                         https://spinrilla.com/mixtapes/young-rb-best-of-aaliyah-
Aaliyah            Street Thing                      SR0000288078          12/18/2015                    https://spinrilla.com/songs/332171-aaliyah-street-thing         tribute-evolution                                          6/15/2015
                                                                                                         https://spinrilla.com/songs/332161-aaliyah-throw-your-hands- https://spinrilla.com/mixtapes/young-rb-best-of-aaliyah-
Aaliyah            Throw Your Hands Up               SR0000288078          12/9/2015                     up                                                              tribute-evolution                                          6/15/2015
                                                                                                                                                                         https://spinrilla.com/mixtapes/dj-miles-tracks-of-the-
Adele              All I Ask                         SR0000773819          12/27/2015                    https://spinrilla.com/songs/444476-adele-all-i-ask              month-november-edition                                     11/27/2015

Adele              Hello                             SR0000774139          12/27/2015                    https://spinrilla.com/songs/428733-adele-hello                 https://spinrilla.com/mixtapes/dj-jay-rock-blazin-r-b-41    11/5/2015
                                                                                                         https://spinrilla.com/songs/423446-rick-ross-feat-adele-hello- https://spinrilla.com/mixtapes/dj-dirty-dollarz-hot-this-
Adele              Hello                             SR0000774139          12/27/2015                    remix                                                          week-30                                                     10/31/2015
                                                                                                                                                                        https://spinrilla.com/mixtapes/dj-miles-tracks-of-the-
Adele              Hello                             SR0000774139          12/27/2015                    https://spinrilla.com/songs/422034-adele-hello-feat-rick-ross month-october-edition                                        10/30/2015

Adele              Hello                             SR0000774139          12/27/2015                    https://spinrilla.com/songs/444396-rick-ross-hello-feat-adele    https://spinrilla.com/mixtapes/rick-ross-renzel-remixes     11/26/2015
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Adele              Hello                             SR0000774139          12/27/2015                    https://spinrilla.com/songs/461252-adele-hello                   2015                                                        12/23/2015
                                                                                                         https://spinrilla.com/songs/439262-dj-stylez-adele-ft-rick-ross- https://spinrilla.com/mixtapes/dj-stylez-hiphop-rnb-stylez-
Adele              Hello                             SR0000774139          12/27/2015                    hello-rmx                                                        vol-91                                                      11/20/2015

Adele              Hello                             SR0000774139          12/27/2015                    https://spinrilla.com/songs/425624-dj-rico-banks-adele-hello    https://spinrilla.com/mixtapes/dj-rico-banks-back-on-top 11/1/2015
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Adele              Love In The Dark                  SR0000773819          12/27/2015                    https://spinrilla.com/songs/444493-adele-love-in-the-dark       month-november-edition                                       11/27/2015
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Adele              Remedy                            SR0000773819          12/27/2015                    https://spinrilla.com/songs/444492-adele-remedy                 month-november-edition                                       11/27/2015
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Adele              When We Were Young                SR0000773819          12/27/2015                    young                                                           month-november-edition                                       11/27/2015
                                                                                                         https://spinrilla.com/songs/114248-alexander-o-neal-feat-       https://spinrilla.com/mixtapes/dj-hi-volume-this-is-r-and-b-
Alexander O'Neal   Never Knew Love Like This         SR0000088690          N/A                           cherrelle-never-knew-love-like-this                             vol-17                                                       4/25/2014
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Alicia Keys        Fire We Make                      SR0000731107          12/19/2015                    alicia-keys-ft-maxwell                                          4                                                            7/16/2013
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Alicia Keys        Fire We Make                      SR0000731107          12/8/2015                     we-make-mixnotfix                                               sheetz-23                                                    12/3/2013
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Alicia Keys        In Common                         SR0000783779          4/27/2016                     west-travis-scott-in-common-remix                               summer-jams-2016-hosted-by-verse-simmonds                    8/16/2016
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Alicia Keys        In Common                         SR0000783779          4/27/2016                     remix-feat-kanye-west-travis-scott                              august-edition-back-to-school-list                           8/17/2016

Alicia Keys        In Common                         SR0000783779          4/27/2016                     https://spinrilla.com/songs/631931-alicia-keys-in-common        https://spinrilla.com/mixtapes/dj-lazy-k-sound-divas-4     5/21/2016

Alicia Keys        In Common                         SR0000783779          4/27/2016                     https://spinrilla.com/songs/650063-alicia-keys-in-common        https://spinrilla.com/mixtapes/fred-nice-vibe-with-us-vol-1 6/3/2016
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Alicia Keys        In Common                         SR0000783779          4/27/2016                     https://spinrilla.com/songs/615793-alicia-keys-in-common        26                                                          5/7/2016
